Case 1:18-cr-20682-CMA Document 84 Entered on FLSD Docket 07/29/2020 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 18-20682-CR-ALTONAGA

  UNITED STATES OF AMERICA,

         Plaintiff,
  vs.

  MATTHIAS KRULL,

        Defendant.
  _______________________________/

                                              ORDER

         THIS CAUSE came before the Court upon Defendant Matthias Krull’s Unopposed

  Motion to Modify Bond Conditions [ECF No. 83]. Being fully advised, it is

         ORDERED AND ADJUDGED that the Motion is GRANTED. Mr. Krull’s bond

  conditions are modified to allow him to move to his new residence in Miami-Dade County,

  Florida. Prior to moving, Mr. Krull shall provide his new address to his supervising probation

  officer who shall update the address with the United States Probation Office.             All other

  conditions of Mr. Krull’s home confinement and release remain in full force and effect.

         DONE AND ORDERED in Miami, Florida, this 29th day of July, 2020.




                                                         _________________________________
                                                         CECILIA M. ALTONAGA
                                                         UNITED STATES DISTRICT JUDGE

  cc:    counsel of record
